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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF DELAWARE

 UNITED STATES OF AMERICA                      :
                                               : Criminal No.: 1:23-cr-00030
                v.                             :
                                               :
 PHILIP EPPS                                   :


                                   PROPOSED ORDER

        AND NOW, this           day of                      , 2024, upon consideration of

 the defendant’s Motion for New Trial it is ordered that the within Motion is Granted and a

 new trial in the above matter be scheduled.



                                BY THE COURT:




                                ______________________________________
                                THE HONORABLE COLM F. CONNOLLY
                                UNITED STATES DISTRICT COURT
                                DISTRICT OF DELAWARE
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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF DELAWARE

 UNITED STATES OF AMERICA                      :
                                               : Criminal No.: 1:23-cr-00030
                v.                             :
                                               :
 PHILIP EPPS                                   :


              DEFENDANT’S MOTION FOR A NEW TRIAL
       PURSUANT TO FEDERAL RULE OF CRIMINAL PROCEDURE 33


        Defendant, PHILIP EPPS, by and through his attorney, ROBERT M.

 GAMBURG, ESQUIRE, respectfully requests that the Court grant the within motion in

 this above captioned matter and in support thereof avers the following:

        1.      On March 13, 2023, Defendant was indicted and charged with, inter alia,

 Possession with the Intent to Distribute of Cocaine Base and Fentanyl in violation of 21

 U.S.C. §841(a)(1),(b)(1)(C), Possession of a Firearm by a Felon, in violation of 18 U.S.C.

 §922(g)(1) and 924(a)(8) and Possession of a Firearm in Furtherance of a Drug

 Trafficking Crime.

        2.      On May 17, 2024, the parties selected a jury.

        3.      On May 21, 2024 following closing arguments and jury instructions, the

 jury began to deliberate.

        4.      At approximately 2:38pm, the jury sent a note to the Court that they were

 deadlocked.

        5.      After a discussion with the parties, the Court instructed the jury to

 continue to deliberate, however the Court did not give the Third Circuit suggested
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 standard Jury instruction 9.05., but rather the Court fashioned its own charge and

 basically instructed the jury to continue deliberating until they reached a verdict.

         6.      Counsel for Defendant did not object to the Court’s instruction.

         7.      At approximately 4:14pm, the jury returned a verdict of guilty and

 answered the interrogatories against the defendant in the affirmative.

         8.      The Court’s instruction in response to the jury’s note indicating they were

 deadlocked was erroneous and constitutes plain error under the law, in that the Court’s

 language was unduly coercive.

         9.      The coercive nature of the language used constitutes plain error.

         10.     The supplemental instruction was unduly coercive and caused the jury to

 be improperly influenced to reach a verdict.

         11.     The comments contained in the Comment section following the Third

 Circuit Suggested Standard Criminal Jury Instructions 9.05 support the conclusion that

 the defendant is entitled to a new trial.

         12.     The jury instruction requires the granting of a new trial.

         WHEREFORE, Defendants prays that this Honorable Court grant the within

 motion.

                                                Respectfully submitted,

                                                _________/s/_______________________
                                                ROBERT M. GAMBURG, ESQUIRE
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                                                Suite 1203
                                                Philadelphia, PA 19102
                                                (215) 567-1486
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                             CERTIFICATE OF SERVICE



         The undersigned counsel hereby certifies that on June 4, 2024, a true and correct

 copy of the Defendant’s Motion in the herein matter was served on the following person,

 via e-filing, as follows:



                               AUSA Samuel S. Frey
                               United States Attorney’s Office
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                               P.O. Box 2046
                               Wilmington, DE 19899-2046
                               samuel.frey2@usdoj.gov




                                             ___________/s/____________________
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